        Case 2:17-cr-00022-DLC Document 73 Filed 04/18/19 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                             CR 17–22–BU–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 RADU “TARZAN” ANGHEL,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on April 3, 2019. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Radu “Tarzan” Anghel’s

guilty plea after Anghel appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of bank fraud in violation

                                           1
        Case 2:17-cr-00022-DLC Document 73 Filed 04/18/19 Page 2 of 2



of 18 U.S.C. §§ 1344 and 2 (Count 3), as set forth in the Indictment. In exchange

for Defendant’s plea, the United States has agreed to dismiss Counts 1, 6, 9, and

12 of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

70), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Radu “Tarzan” Anghel’s motion to

change plea (Doc. 52) is GRANTED and Radu “Tarzan” Anghel is adjudged

guilty as charged in Count 3 of the Indictment.

      DATED this 18th day of April, 2019.




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